               Case 3:23-mj-00958-MEG Document 1 Filed 11/02/23 Page 1 of 7                                t Court
Motion for Detention Pending Trial                                                       District of Connecticut
                                                                                        FILED AT 1(:+$9(1

                                                                                          1RYHPEHU
                                                                                          1RYHPEHU       
                                                                                     ___________________,20____
                                     UNITED STATES DISTRICT COURT
                                                                                           66DQWRV
                                                                                     By_______________________
                                        DISTRICT OF CONNECTICUT                             Deputy Clerk

       UNITED STATES OF AMERICA                          )
                                                         )
                        V.                               )        Case No.PM8 0(*
                                                         )
       Jonathan Mitchell                                 )



                             MOTION FOR DETENTION PENDING TRIAL

                                        Part I - Eligibility for Detention

The United States respectfully moves for pretrial detention pursuant to:

■
ޭ 18 U.S.C. § 3142(f)(1) because the case involves–

        ޭ (A) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in 18

            U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of 10 years or more is

            prescribed;

        ޭ (B) an offense for which the maximum sentence is life imprisonment or death;

        ޭ (C) an offense for which a maximum term of imprisonment of ten years or more is prescribed

            in the Controlled Substances Act (21 U.S.C. § 801 et seq.), the Controlled Substances Import

            and Export Act (21 § 951 et seq.), or Chapter 705 of Title 46;

        ■
        ޭ (D) any felony, and the defendant has been convicted of two or more offenses described in

            subparagraphs (A) through (C) of this paragraph, or two or more State or local offenses that

            would have been offenses described in subparagraphs (A) through (C) of this paragraph if a

            circumstance giving rise to Federal jurisdiction had existed, or a combination of such

            offenses;

        ■
        ޭ (E) any felony that is not otherwise a crime of violence that involves a minor victim or that




                                                          1
              Case 3:23-mj-00958-MEG Document 1 Filed 11/02/23 Page 2 of 7
Motion for Detention Pending Trial



           involves the possession or use of a firearm or destructive device (as those terms are defined

           in 18 U.S.C. § 921), or any other dangerous weapon, or involves a failure to register under

           18 U.S.C. § 2250.

■
ޭ 18 U.S.C. § 3142(f)(2) because the case involves–
       ■
       ޭ (A) a serious risk that the defendant will flee;
       ■
       ޭ (B) a serious risk that the defendant will obstruct or attempt to obstruct justice, or threaten,
           injure, or intimidate, a prospective witness or juror.

                                 Part II - Presumptions under § 3142(e)
ޭ (A)Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(2) (previous violator): There is a

   rebuttable presumption that no condition or combination of conditions will reasonably assure the

   safety of any other person and the community because the following conditions have been met:

           ޭ (1) the defendant is charged with one of the following crimes described in 18

               U.S.C. § 3142(f)(1):

                       ޭ (a) a crime of violence, a violation of 18 U.S.C. § 1591, or an offense listed in

                           18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of imprisonment of

                           10 years or more is prescribed; or

                       ޭ (b) an offense for which the maximum sentence is life imprisonment or death; or

                       ޭ (c) an offense for which a maximum term of imprisonment of 10 years or

                           more is prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904),

                           the Controlled Substances Import and Export Act (21 U.S.C. §§ 951-971), or

                           Chapter 705 of Title 46, U.S.C. (46 U.S.C. §§ 70501-70508); or




                                                     2
               Case 3:23-mj-00958-MEG Document 1 Filed 11/02/23 Page 3 of 7
Motion for Detention Pending Trial



                       ޭ (d) any felony if such person has been convicted of two or more offenses

                           described in subparagraphs (A) through (C) of this paragraph, or two or more

                           State or local offenses that would have been offenses described in

                           subparagraphs (A) through (C) of this paragraph if a circumstance giving rise

                           to Federal jurisdiction had existed, or a combination of such offenses; or

                       ޭ (e) any felony that is not otherwise a crime of violence but involves: (i) a minor

                           victim; (ii) the possession of a firearm or destructive device (as defined in 18

                           U.S.C. § 921); (iii) any other dangerous weapon; or (iv) a failure to register

                           under 18 U.S.C. § 2250; and

           ޭ (2) the defendant has previously been convicted of a Federal offense that is described in 18

               U.S.C.§ 3142(f)(1), or of a State or local offense that would have been such an offense if

               a circumstance giving rise to Federal jurisdiction had existed; and

           ޭ (3) the offense described in paragraph (2) above for which the defendant has been

               convicted was committed while the defendant was on release pending trial for a Federal,

               State, or local offense; and

           ޭ (4) a period of not more than five years has elapsed since the date of conviction, or the

               release of the defendant from imprisonment, for the offense described in paragraph (2)

               above, whichever is later.

ޭ B. Rebuttable Presumption Arises Under 18 U.S.C. § 3142(e)(3) (narcotics, firearm, other

   offenses): There is a rebuttable presumption that no condition or combination of conditions will

   reasonably assure the appearance of the defendant as required and the safety of the community

   because there is probable cause to believe that the defendant committed one or more of the following

   offenses:




                                                     3
              Case 3:23-mj-00958-MEG Document 1 Filed 11/02/23 Page 4 of 7
Motion for Detention Pending Trial



           ޭ (1) an offense for which a maximum term of imprisonment of 10 years or more is

               prescribed in the Controlled Substances Act (21 U.S.C. §§ 801-904), the Controlled

               Substances Import and Export Act (21 U.S.C. §§ 951-971), or Chapter 705 of Title 46,

               U.S.C. (46 U.S.C. §§ 70501-70508);
           ޭ (2) an offense under 18 U.S.C. §§ 924(c), 956(a), or 2332b;

           ޭ (3) an offense listed in 18 U.S.C. § 2332b(g)(5)(B) for which a maximum term of
               imprisonment of 10 years or more is prescribed;

           ޭ (4) an offense under Chapter 77 of Title 18, U.S.C. (18 U.S.C. §§ 1581-1597) for which a
               maximum term of imprisonment of 20 years or more is prescribed; or

           ޭ (5) an offense involving a minor victim under 18 U.S.C. §§ 1201, 1591, 2241, 2242,

               2244(a)(1), 2245, 2251, 2251A, 2252(a)(1), 2252(a)(2), 2252(a)(3), 2252A(a)(1),

               2252A(a)(2), 2252A(a)(3), 2252A(a)(4), 2260, 2421, 2422, 2423, or 2425.


                                                   Part III

The United States requests that the defendant be detained, and requests that the court find:
           ■
           ޭ By clear and convincing evidence that no condition or combination of conditions of
               release will reasonably assure the safety of any other person and the community.

           ■
           ޭ By a preponderance of evidence that no condition or combination of conditions of release
               will reasonably assure the defendant’s appearance as required.

The reasons for detention include the following:
           ■
           ޭ Weight of evidence against the defendant is strong
           ■
           ޭ Subject to lengthy period of incarceration if convicted
           ■
           ޭ Prior criminal history
           ■
           ޭ Participation in criminal activity while on probation, parole, or supervision




                                                      4
              Case 3:23-mj-00958-MEG Document 1 Filed 11/02/23 Page 5 of 7
Motion for Detention Pending Trial



           ■
           ޭ History of violence or use of weapons
           ޭ History of alcohol or substance abuse
           ޭ Lack of stable employment
           ޭ Lack of stable residence
           ޭ Lack of financially responsible sureties
           ޭ Lack of significant community or family ties to this district
           ޭ Significant family or other ties outside the UnitedStates
           ޭ Lack of legal status in the United States
            ޭ Subject to removal or deportation after serving any period of incarceration
           ޭ Prior failure to appear in court as ordered
           ޭ Prior attempt(s) to evade law enforcement
           ޭ Use of alias(es) or false documents
           ޭ Background information unknown or unverified
           ޭ Prior violations of probation, parole, or supervised release

■
ޭ OTHER REASONS OR FURTHER EXPLANATION:



    Please see attached page




                                                    5
              Case 3:23-mj-00958-MEG Document 1 Filed 11/02/23 Page 6 of 7
Motion for Detention Pending Trial



                                                Part IV


The United States requests that the court conduct the detention hearing:
           ■
           ޭ at the defendant’s first appearance;
           ޭ after a continuance of 3 days, to the extent not otherwise postponed because of
               defendant’s present incarceration on unrelated state charges.
                                                     Respectfully submitted,

                                                     9$1(66$5$9(5<
                                                     UNITED STATES ATTORNEY
                                                     /s/
                                                     John T. Pierpont, Jr.
                                                     ASSISTANT UNITED STATES ATTORNEY
                                                     FEDERAL BAR NO.phv07973
                                                     86$WWRUQH\ V2IILFH
                                                     %ULGJHSRUW2IILFH
                                                     /DID\HWWH%OYGWK)O
                                                     %ULGJHSRUW&7
                                                     7HOH  
  Pr                     Sae As...                   )D[              Reset


                                     CERTIFICATION OF SERVICE

A copy of this motion was served in-person to all parties on this November 2, 2023 .



                                      /s/
                                      John T. Pierpont, Jr.
                                      ASSISTANT UNITED STATES ATTORNEY




                                                    6
           Case 3:23-mj-00958-MEG Document 1 Filed 11/02/23 Page 7 of 7



The defendant has a criminal history involving:

    x   Kidnapping 1st Degree
    x   Robbery 1st Degree
    x   Burglary 1st Degree
    x   Home invasion
    x   Firearm possession charges

The defendant received a ten-year sentence of incarceration for the foregoing, and a suspended term of
at least 15 years, which remains pending.

The defendant had been released for approximately two years when he engaged in the instant offense.

The pending charges include stealing from an FFL, illegally possessing handguns as a felon, and
conspiracy to commit the straw purchase of firearms. It is based on the following facts:

The defendant allegedly arranged for the straw purchase of some firearms from an FFL, which was
delayed. At that point the defendant arranged for the theft of firearms from the FFL where the straw
purchase had been planned to take place. The defendant entered the FFL with two women, one of
whom was the would-be straw purchaser. The women distracted the clerk and the defendant put an AR
pistol into his pants. While looking at holsters, one of the women took two handguns. They all left and
reentered the store where the clerk accused them of theft. Location information puts the defendants at
that location during the theft. And the defendant made numerous jail calls to an inmate in CT DOC
custody talking about the theft before and after, using thinly veiled coded language.

The defendant committed this offense while on supervision after serving a significant term of
incarceration.

Additionally, a search of his residence this morning revealed: significant quantities of cash on his person
and marijuana. A search of a car rented in his girlfriends name that officers observed him in contained
zip ties, bleach, nail polish remover, a five-pound hammer, and a crowbar, all of which were found in the
back of the car.

Finally, the defendant waived his Miranda rights this morning and admitted to distributing firearms
when back in Connecticut.
